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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


STATE OF OHIO,                        :                      CASE NO. 4:23-cv-00517-JRA
                                      :
UNITED STATES OF AMERICA,             :                      JUDGE JOHN R. ADAMS
                                      :
          Plaintiffs,                 :
                                      :
     v.                               :
                                      :
NORFOLK SOUTHERN CORPORATION, et al., :
                                      :
          Defendants.                 :



                           STATE OF OHIO’S STATUS REPORT


     On April 15, 2024, the Court issued an Order directing the parties to file Status Reports every

thirty days, addressing: (1) discovery that has occurred during the reporting period; (2) settlement

discussions that have occurred during the reporting period; (3) motions that have been filed or

remained pending during the reporting period; and (4) any developments that might give rise to a

request to deviate from the schedule outlined in the case management plan.

     Since the filing of the last status report on March 14, 2025, the State’s responses are

respectfully submitted below.

     1.    Discovery

     Ohio and Norfolk Southern have completed fact discovery. Both parties participated in

multiple meet and confers and completed document production. Ohio provided its expert reports

to Norfolk Southern on February 28, 2025. Norfolk Southern provided its expert reports to Ohio

on April 11, 2025.
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     Ohio and Norfolk Southern are working to schedule 15 expert depositions during the May1-

July 31 expert deposition period.

     2.    Settlement Discussions

     Ohio and Norfolk Southern continue to have discussions regarding resolution of this case.

Additionally, Ohio and Norfolk Southern have engaged a mediator and scheduled a mediation

session before the end of April.

     3.    Motions Filed or Pending

     On March 17, 2025, Ohio and Norfolk Southern filed a Joint Stipulation and Proposed Order

to extend the expert deposition and dispositive motion deadlines in light of the parties’ planned

mediation. The Court approved the same on March 21, 2025.

     4.    Potential Deviations from Case Management Schedule

     Ohio is not aware of any developments that might give rise to additional requests to deviate

from the Case Management Schedule.




                                                Respectfully submitted,

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                                                OHIO ATTORNEY GENERAL

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                                      Certificate of Service

       This certifies that on April 14, 2025, I served State of Ohio’s Status Report by filing through

the Court’s CM/ECF system, which electronically notified all parties of record.



                                                  s/ Amber Wootton Hertlein
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                                                  Counsel for Plaintiff State of Ohio




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